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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                 JUDGE R. BROOKE JACKSON


Criminal Action:       19-cr-00140-RBJ                        Date: September 17, 2019
Courtroom Deputy:      Julie Dynes                            Court Reporter: Sarah Mitchell
Interpreter:           N/A                                    Probation: N/A

                 Parties                                                   Counsel

 UNITED STATES OF AMERICA                                              Greg Holloway
                 Plaintiff

 v.

 1. MATTHEW MARRE                                                      Matthew Golla
                Defendant


                                     COURTROOM MINUTES


CHANGE OF PLEA HEARING

Court in session: 2:09 p.m.

Appearances of counsel.

Defendant is present in custody.

The Plea Agreement (Court Exhibit 1) and Defendant’s Statement in Advance of Plea of Guilty
(Court Exhibit 2) are tendered to the Court.

Defendant is sworn.

Defendant's right to trial by jury and other constitutional rights explained.

Factual basis for the plea stated.

Defendant advised of maximum penalties, sentencing guidelines and appeal rights.

Defendant enters plea of guilty to Count 1 through 8 of the Indictment pursuant to the plea
agreement.
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The Court finds that the defendant has knowingly, intelligently, and voluntarily entered a plea of
guilty.

ORDERED: The plea of guilty to Count 1 through 8 of the Indictment entered by the
         defendant is accepted, the defendant is found guilty of the crime charged.

               The Probation Department shall conduct a presentence investigation and file
               a presentence report as required by 18 U.S.C. § 3552 and Fed.R.Crim.P. 32.

               Sentencing is set for December 20, 2019, at 1:30 p.m. before the Honorable
               Judge R. Brooke Jackson in Courtroom A-902, Ninth Floor, Alfred A. Arraj
               United States Courthouse, 901 19th Street, Denver, Colorado 80294.

               The defendant is remanded to the custody of the United States Marshal.

Court in Recess: 2:22 p.m.            Hearing concluded.            Total time in Court: 00:13
